        Case 1:17-cv-02069-TSC Document 121 Filed 10/10/18 Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                       )
JOHN DOE,                              )
                                       )
               Petitioner,             )
                                       )
      v.                               ) Civil Action No. 1:17-cv-2069 (TSC)
                                       )
GEN. JAMES N. MATTIS,                  )
 in his official capacity as SECRETARY )
 OF DEFENSE,                           )
                                       )
               Respondent.             )


                           NOTICE OF CHANGE OF ADDRESS

       To the Clerk of the Court and all parties of record:

       Please enter the following change of address for Kathryn L. Wyer as counsel for

Respondent in this matter. All future correspondence and other communications regarding this

matter should be directed to Ms. Wyer at the address and phone number below.

October 10, 2018                                   Respectfully submitted,

                                                   /s/ Kathryn L. Wyer
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